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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §        CASE NO. 1:11-CR-115
                                                 §
JOSE MARLON GALLEGOS                             §


                          MEMORANDUM ORDER
             ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                       ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

States Magistrate Judge. The magistrate judge recommended that the Court accept the Defendant’s

guilty plea, but defer acceptance of the plea agreement until the Court has had an opportunity to

review the presentence report. He further recommended that the Court adjudge the Defendant guilty

on Counts One and Three of the charging Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

ADOPTED. The Court accepts the Defendant’s plea, but defers acceptance of the plea agreement

until the Court has reviewed the presentence report.

       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Jose Marlon Gallegos, is adjudged


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guilty as to Counts One and Three of the Indictment charging a violation of Title 21, United States

Code, Section 841(a)(1) and Title 18 United States Code, Section 922(g)(5).

         So ORDERED and SIGNED this 21 day of December, 2011.




                                                       ___________________________________
                                                       Ron Clark, United States District Judge




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